                                     IN THE
                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                AT CHATTANOOGA

             A.T., A MINOR STUDENT, BY AND THROUGH HER PARENTS AND NEXT
         FRIENDS, B.G. AND J.G., AND B.G. AND J.G. IN THEIR INDIVIDUAL CAPACITIES,

                                             Plaintiffs,

                                                 v.
    CLEVELAND CITY SCHOOLS BOARD OF EDUCATION; CLEVELAND MIDDLE SCHOOL; MS.
      LENEDA LAING, IN BOTH HER OFFICIAL AND INDIVIDUAL CAPACITY AS PRINCIPAL OF
 CLEVELAND MIDDLE SCHOOL; MS. STEPHANIE PIRKLE, IN BOTH HER OFFICIAL AND INDIVIDUAL
  CAPACITY AS VICE-PRINCIPAL OF CLEVELAND MIDDLE SCHOOL; MS. LAUREN LASTORIA, IN
     BOTH HER OFFICIAL AND HER INDIVIDUAL CAPACITY AS THE 6 GRADE COUNSELOR AT
                                                                  TH



 CLEVELAND MIDDLE SCHOOL; MS. TERRY ESQUIANCE, IN BOTH HER OFFICIAL AND INDIVIDUAL
 CAPACITY AS A.T.’S HOMEROOM TEACHER; MS. ASHLEY KEITH, IN BOTH HER OFFICIAL AND HER
    INDIVIDUAL CAPACITY AS A.T.’S MATH TEACHER, AND MATTHEW INGRAM, IN BOTH HIS
        INDIVIDUAL AND OFFICIAL CAPACITY AS THE SEVENTH GRADE VICE PRINCIPAL,

                                         Defendants.

                                      No. ____________

                              Honorable Travis R. McDonough

                                   JURY IS DEMANDED

                                        COMPLAINT

       COME THE PLAINTIFFS, A.T., a minor student, by and through her parents and

next friends, B.G. and J.G., who also bring this cause of action in their individual

capacities. They show for their Complaint:

                                   I.INTRODUCTION

       1. This lawsuit arises from the Defendants’ deliberate indifference to extreme

          student-on-student sexual harassment, sexual assault, sexual battery, and bullying.

          Defendants’ history of failure to take appropriate preventive measures, failure to




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         adequately respond to the events described herein, failure to adequately investigate

         said events, failure to observe Title IX requirements, and failure to offer

         appropriate assistance to the victim, all implicate civil rights violations, as well as

         the denial of educational opportunities. This action alleges violations of Title IX,

         denial of equal protection of the laws under the Fourteenth Amendment to the

         United States Constitution, and violation of State tort laws.

                                        I.PARTIES

      1. A.T. is a minor child and a citizen of Bradley County, Tennessee, where she resides

         with her mother and next friend, B.G., and stepfather, J.G.

      2. The Cleveland City Schools Board of Education (hereinafter, “CCSBE”) is a

         governmental entity charged with managing public schools in Cleveland,

         Tennessee. It is a recipient of federal funds.

      3. Cleveland Middle School (hereinafter, “CMS”) is governed, regulated, and

         controlled by CCSBE.

      4. Defendants Terry Esquinance, Ashley Keith, Lauren Lastoria, Leneda Laing, and

         Matthew Ingram are all employed by CMS. Defendant Stephanie Pirkle was

         employed by CMS at the time of the incidents complained of herein.

      5. Defendant Esquinance, in both her official and individual capacity, acted as the

         homeroom teacher for A.T.

      6. Defendant Laing, in both her individual and official capacity, acted as Principal

         for CMS.

      7. Defendant Pirkle, in both her official and individual capacity, acted as Vice-

         Principal of CMS.




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      8. Defendant Lastoria, in both her official and individual capacity, acted as the 6     th




         grade counselor.

      9. Defendant Keith, in both her official and individual capacity, acted as A.T.’s math

         teacher.

      10. Defendant Ingram, in both his individual and official capacity, acted at A.T.’s 7 th




         grade vice-principal.

      11. All individual Defendants named herein are, to the best of your Plaintiffs’

         understanding and belief, citizens and residents of the State of Tennessee, but

         whose residential addresses are presently unknown.

                                    I.JURISDICTION

      1. The Court’s jurisdiction is invoked pursuant to 28 U.S.C. § 1331, Title IX (the

         Education Amendments Act, 20 U.S.C. § 1681), and the Fourteenth Amendment

         to the United States Constitution, through 42 U.S.C. § 1983. The Court also has

         jurisdiction pursuant to 28 U.S.C. § 1343. The Court has supplemental jurisdiction

         over state law claims pursuant to 28 U.S.C. § 1367 because the State law claims

         are so related to Plaintiffs’ claims under Title IX, the Fourteenth Amendment of

         the Constitution of the United States, and 42 U.S.C. § 1983, that they form part of

         the same case or controversy under Article III of the Constitution of the United

         States.

      2. Venue is proper pursuant to 28 U.S.C. § 1391(b), as all of the Defendants reside

         or may be found in Bradley County and the acts or omissions complained of

         herein occurred in Bradley County, located in the Eastern District of Tennessee.

                                        I.FACTS




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      1. On or about Monday, September 23, 2019, B.G. received a call from the

         Department of Children’s Services (hereinafter, “DCS”) while at work.

      2. Once B.G. was able to return the call, she was advised to go to the DCS office so

         as to discuss the safety of A.T.

      3. B.G. was completely unaware as to the matter the DCS representative wished to

         discuss, as no concerns as to the safety of A.T. had been raised previously, by DCS

         or otherwise.

      4. Upon receiving this call, B.G., contacted her husband J.G., A.T.’s stepfather, as

         well as A.T.’s biological father, requesting they both attend the meeting as well.

      5. At said meeting, the DCS representative began referring to an assault which

         occurred the week prior on September 18, 2019.

      6. B.G. and J.G. represented to the DCS representative that they were unaware of any

         such event, and at no point had they been advised of such.

      7. The DCS representative advised the three (3) that DCS had been alerted that A.T.

         was the victim of a sexual assault and sexual battery committed by another student,

         which occurred on school premises.

      8. They were further advised the assailant had been taken to juvenile court and

         separated from the general student populace and placed in “Raider Academy,” the

         functional equivalent of what one might refer to as “alternative school.”

      9. Further, the DCS representative advised that not only had the assailant sexually

         assaulted and sexually battered A.T., but he then proceeded to threaten the other

         children who had witnessed said assault with physical violence should they

         disclose what they had observed.




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      10. The DCS representative then scheduled wellness checks to examine all three (3)

         parents’ homes, to which Plaintiff parents had no objection, willfully allowing the

         DCS representative to conduct her investigation to the extent she felt necessary.

      11. Additionally, the DCS representative scheduled appointments with Janet Doe’s

         other children to ensure their safety, as well.

      12. Shockingly, the DCS representative advised Jane Doe’s parents that CMS had

         required Jane Doe to write out and execute a statement as to the events that

         transpired in the absence of a parent or guardian.

      13. Again, at no point had Jane Doe’s parents been advised by CMS as to the incident

         involving their daughter, a fact that “shocked” the DCS representative.

      14. The very next day, Janet and John Doe received a Mutual No Contact Order. They

         had no knowledge as to the reason for its issuance.

      15. Much to the dismay of Plaintiffs and counsel, this No Contact Order was issued

         and entered on the 19 Day of September, the week prior to Jane Doe’s parents
                                th




         being made aware that the sexual assault had even occurred.

      16. The parents allowed Jane Doe to divulge the details of the sexual assault in her

         own time, and eventually it was discovered that this assault was not merely a “pat

         on the bottom,” contrary to the account given to the DCS representative by CMS.

      17. Instead, it was discovered that not only was the assault of a sexual nature, such

         was done forcefully, with Jane Doe being shoved up against a locker, molested,

         and brutalized, resulting in physical injuries from which Jane Doe had to recover

         more than a week after the assault. Her psychological injuries remain with her and

         shall remain for the foreseeable future.




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      18. The Friday of the same week, Jane Doe called her mother, Janet Doe, requesting

         that she be picked up from school for fear of being sexually brutalized yet again

         by her assailant.

      19. Janet Doe advised she was safe due to the Mutual No Contact Order; however, this

         did little to quell Jane Doe’s deep-seated fear and trepidation.

      20. On October 2, 2020, John Doe was served with a subpoena dated the 27 day of th




         September 2019, requiring their presence at a hearing scheduled for December 12,

         2020 to take place at Bradley County Juvenile Court, Case No. 19-00834.

      21. On or about November 2, 2019, Janet Doe received an email from a teacher of

         Jane Doe, requesting a meeting, stating Jane Doe was failing all of her classes.

      22. The teachers at said meeting advised that Jane Doe was smart and capable, yet she

         was failing to submit her homework and was “not trying” in class.

      23. After discussing Jane Doe’s poor academic performance, the matter of Jane Doe’s

         sexual assault arose.

      24. For the very first time, Janet and John Doe were advised that a sexual assault, had,

         in fact, occurred. This was the first instance in which anyone from CMS even

         acknowledged the assault, teacher or otherwise.

      25. During the conference, one (1) of the three (3) teachers present advised that she

         was the one to take Jane Doe to CMS office following said sexual assault.

      26. This teacher informed Jane Doe’s parents that she was not the one to report the

         assault. Instead, the assault was reported by one of Jane’s friends.

      27. Additionally, said teacher advised that not only was Jane Doe in fear for her safety,

         but all of the students were afraid of the assailant.




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      28. Again, Janet and John Doe were stunned by the fact that all three (3) of the teachers

         with whom they met were aware of their daughter’s assault, and yet none of them,

         or any other representative of CMS, considered it important enough to bring it to

         their attention.

      29. Janet Doe advised these three (3) teachers that all three (3) of the parents were

         unaware of the assault until they were confronted by DCS five (5) days after the

         event in question, and several days after the Mutual No Contact Order had been

         issued.

      30. At the court date on December 12, 2019, Jane Doe displayed signs of fear,

         trepidation, overwhelming anxiety, embarrassment, and desire not to even be party

         to the proceeding, despite being the actual victim, and did not want to lay eyes

         upon her assailant.

      31. At said hearing, the Assistant District Attorney assigned to the matter, with the

         assailant’s file in hand, advised Janet and John Doe that their daughter’s assailant

         already had an extensive record despite only being eleven (11) years of age at the

         time.

      32. As of the date of this hearing, the assailant had failed to comply with Court-

         Ordered counseling.

      33. The Assistant District Attorney advised that the Court would issue an additional

         Order regarding the assailant’s counseling, especially considering this was not the

         first time the assailant had sexually assaulted Jane.




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      34. This was the first time Janet and John Doe were made aware that, not only had

         their daughter been sexually assaulted and CMS had concealed the same, their

         daughter had been sexually assaulted by the same assailant multiple times.

      35. Yet again, Janet and John Doe were made aware that CMS had kept them in the

         dark as to the sexual assaults on their daughter, concealing their culpability.

      36. Subsequent to this, the Assistant District Attorney advised a representative from

         CMS that Janet and John Doe had not been contacted by CMS, which he

         represented he would address. However, yet again, at no point were the parents of

         Jane Doe contacted by any representative from CMS.

      37. Jane Doe began exhibiting signs of severe depression, anxiety, and became

         withdrawn. This caused Janet and J.G. to become fearful A.T. may wish to harm

         herself.

      38. This entire ordeal resulted in not only mental anguish for A.T., but also for her

         parents, who felt they were unable to protect their own child.

      39. Stated plainly, CMS denied B.G. and J.G. an opportunity to protect their child.

      40. At no point did CMS attempt to separate A.T. from her assailant, resulting in

         additional emotional distress for A.T.

      41. At no point did CMS advise B.G. and J.G. of the repeated sexual assaults of their

         daughter by another student.

      42. The actions and inactions of CMS resulted in physical and emotional trauma

         suffered by not only A.T., but also by her parents.

      43. Subsequently, A.T. began counseling at Hiwassee Mental Health, at which she was

         diagnosed with Post-Traumatic Stress Disorder. Accordingly, A.T. was prescribed




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         medications so as to alleviate at least some of the symptoms which are the

         byproduct of the repeated sexual assaults.

      44. Likewise, both B.G. and J.G. have begun counseling, and both have been

         prescribed antidepressants and anti-anxiety medications.

      45. On October 19, 2020, A.T. placed a call to J.G., stating Defendants had placed her

         assailant in the very same class as A.T., resulting in further emotional trauma,

         forcing her to relive the events of the past while fearing another sexual assault, in

         spite of the No Contact Order previously issued by the Juvenile Court of Bradley

         County.

      46. This further exemplifies callous and intentional indifference to Plaintiffs’ rights

         and wellbeing, both physical and emotional.

      47. These Defendants had actual knowledge of the multiple sexual assaults, actual

         knowledge that A.T.’s parents had not been notified of the same, yet nonetheless

         deliberately turned an indifferent eye to pervasive, repeated, egregious, and

         foreseeable sexual assaults upon the person of this child.

      48. Presently, Plaintiff A.T. is in the seventh (7 ) grade.
                                                        th




      49. On the 19 of April 2021, Defendant Ingram held a grade-wide assembly via Zoom for
                    th




         the seventh (7 ) grade.
                         th




      50. The subject of the assembly was sexual assault and harassment.

      51. The seventh (7 ) grade was the only grade to have such an assembly.
                              th




      52. During said assembly, Defendant Ingram stated that sexual assault and harassment

         occurs when students “horseplay,” explaining how “kids [their] age are starting to




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          notice things,” and “[e]ven if you look at somebody the wrong way, you’d probably

          get sued.”

       53. Defendant Ingram further trivialized sexual assault and harassment by referring to such

          conduct as merely “bottom slaps” or “pats,” a direct reference to the account of the

          assault of A.T. given by Defendants.

       54. Seemingly attempting to dissuade students from reporting similar instances of sexual

          assault and harassment experienced by Plaintiff A.T., Defendant Ingram stated that if

          a student reported such conduct to him, he would “have to report it to Officer Cruz.”

       55. After Defendant Ingram concluded his remarks, he then invited any of the teachers to

          add any additional comments.

       56. At this point, Plaintiff A.T.’s teacher expounded upon the subject of individuals who

          were subject to sexual assault and harassment subsequently filing suit.

       57. In response to this, a peer of Plaintiff A.T. shouted, “[it is because] [t]hey’re probably

          poor!”

       58. Once the assembly concluded, the children then began to play a modified game of tag

          in which they would touch each other, then scream “sexual harassment!”

       59. Plaintiff A.T. was subjected to the above-referenced conduct by Defendants, her

          teacher, and her peers.

       60. Yet again, Defendants demonstrated intentional indifference to the care and wellbeing

          of this child.

       61. Additionally, this latest incident demonstrates that Defendants CCSBE and CMS failed

          to adequately address the underlying objectionable conduct of their employees,




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          administration, and all other parties acting on their behalf, despite this very cause of

          action putting them on notice that they need do so.

                                I.CAUSES OF ACTION

       1. Plaintiffs bring the following causes of action in the counts below.

                           COUNT I. TITLE IX – CCSBE AND CMS

       1. The foregoing factual averments are incorporated herein as though rewritten

          verbatim.

       2. The sex-based harassment of the Plaintiff A.T. was severe, pervasive, and

          objectively offensive, and deprived A.T. of access to educational opportunities or

          benefits.

       3. CCSBE and CMS created, tolerated, and subjected A.T. to a hostile educational

          environment under Title IX of the Education Amendments Act of 1972, 20 U.S.C.

          § 681(a), because Plaintiff A.T. was treated disparately; suffered sexual assault,

          sexual battery, and other harassment; and CCSBE and CMS had a lack of adequate

          policies, training, and procedures, and deliberately failed to take appropriate

          preventive or remedial measures.

       4. Moreover, CCSBE, CMS, their officials, and employees had actual knowledge of

          the harassment and chose not to seriously investigate or discipline the perpetrator.

       5. CCSBE, CMS, its officials, and employees engaged in a pattern of behavior, a

          cover-up, to discourage students from reporting the sexual assaults, which is

          illustrated not only by Defendants’ inaction following the multiple assaults of

          Plaintiff A.T., but also by their callous and tone-deaf response to this cause of

          action, e.g., the above-referenced assembly.




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                      COUNT II. TITLE IX RETALIATION BY WITHHOLDING
                             PROTECTIONS — CCSBE AND CMS

       1. The foregoing factual averments are incorporated herein as though rewritten

          verbatim.

       2. CCSBE and CMS officials discouraged those with actual information of the sexual

          assaults from reporting to appropriate authorities and failed to report the sexual

          assaults to A.T.’s parents.

       3. Once law enforcement became involved, CCSBE, CMS, and its officials ignored

          the matter altogether, feigning as though the assault never happened, and refused

          to investigate the matter or otherwise comply with responsibilities of Title IX.

       4. Even when CCSBE and CMS’s deception had been revealed, they nonetheless still

          refused to acknowledge the assault or contact the parents of A.T., much less take

          steps to remedy the situation.

                 COUNT III. VIOLATION OF THE FOURTEENTH AMENDMENT
                         AND SECTION 1983 — ALL DEFENDANTS

       1. The foregoing factual averments are incorporated herein as though rewritten

          verbatim.

       2. Plaintiff A.T. enjoys the right as an American public-school student to personal

          security, bodily integrity, and Equal Protection of the Laws.

       3. Defendants Esquinance, Keith, Pirkle, Lastoria, Laing, and Ingram were all State

          actors acting under color of State law.

       4. All defendants subjected Plaintiff A.T. to violations of her right to bodily integrity

          and Equal Protection of the Laws by failing to take appropriate preventive

          measures; failing to adequately supervise and train (or engage in supervision); and




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          by acting with manifest indifference to the sexual assault, sexual battery, bullying,

          and harassment of A.T.

       5. The actions of CCSBE and CMS were taken pursuant to customs, policies, or

          practices of failing to investigate, failing to adequately train and supervise, and a

          historical indifference to the bodily integrity of students.

       6. Defendants Esquinance, Keith, Pirkle, Lastoria, Laing, and Ingram were

          considered policymakers for the purpose of implementing and carrying on the

          aforesaid policies, customs, or practices.

               COUNT IV. MONELL LIABILITY FOR FAILURE TO TRAIN AND
                  SUPERVISE (42 U.S.C. § 1983) — ALL DEFENDANTS

       1. The foregoing factual averments are incorporated herein as though rewritten

          verbatim.

       2. Defendants Esquinance, Keith, Pirkle, Lastoria, Laing, and Ingram were State

          actors working for CCSBE, CME, and the City of Cleveland, Tennessee,

          respectively. They worked under color of state law in failing to appropriately

          prevent or remedy the sexual assaults.

       3. Each defendant named herein violated A.T.’s right to equal access to an

          environment free from harassment and sexual assault, due to a policy or custom of

          failing to investigate, failing to take prompt remedial measures, failing to protect

          A.T., failing to provide a grievance procedure widely disseminated and capable of

          being understood, and failing to notify A.T.’s parents of the harassment and sexual

          assault, and acting with deliberate indifference to violence against A.T. These

          failures proximately caused the injuries sustained by A.T.




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       4. Additionally, CCSBE and SME violated Plaintiffs’ Fourteen Amendment right to

          equal protection by failing to properly train and supervise its employees in

          mandated investigative requirements.

       5. The need to train its principal, vice-principal, teachers, counselors, SROs, and Title

          IX Coordinator is so obvious, and the inadequacy so likely to result in violation of

          constitutional rights, that CCSBE and CMS were deliberately indifferent and acted

          pursuant to a policy or custom of indifference to violence against its students.

          These failures proximately caused the injuries to A.T.

                COUNT V. NEGLIGENT OR INTENTIONAL INFLICTION OF
                   EMOTIONAL DISTRESS — (ALL DEFENDANTS)

       1. The foregoing factual averments are incorporated herein as though rewritten

          verbatim.

       2. Defendants acted with intentional indifference to the multiple sexual assaults of

          A.T., failing to report the same to A.T.’s parents, and failure to employ appropriate

          remedial and preventative measures.

       3. Defendants’ failure to protect a minor child from sexual assault, with full

          knowledge of said assault, and failure to notify the parents of the minor victim as

          to the same is so outrageous that such is not tolerated by society.

       4. The negligent and intentional actions of the defendants resulted in severe,

          pervasive, and extensive emotional trauma in A.T., B.G., and J.G.

       5. The negligent and intentional actions of the defendants is both the actual and

          proximate cause of the emotional distress sustained by Plaintiffs.

                   COUNT VI. NEGLIGENCE PER SE — (ALL DEFENDANTS)




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       1. Defendants’ failure to notify B.G. and J.G. of the multiple sexual assaults of their

          daughter is a violation of Tenn. Code Ann. § 37-1-605.

       2. Tenn. Code Ann. § 37-1-605 was intended to ensure parents are advised of any

          sexual assault of their child in a timely manner, so as to afford the parents to take

          appropriate action.

       3. Defendants’ failure to uphold this statutory obligation is the actual and proximate

          cause of the mental distress and anguish incurred by Plaintiffs. The failure of

          Defendants to advise B.G. and J.G. of their daughter’s assault resulted their

          inability to take measures to ensure their daughter’s safety, ultimately resulting in

          additional sexual assaults of A.T.

             COUNT VII. VIOLATION OF THE TENNESSEE GOVERNMENTAL
                   TORT LIABILITY ACT — (ALL DEFENDANTS)

       1. The foregoing factual averments are incorporated herein as though rewritten

          verbatim.

       2. Based upon the foregoing, Plaintiffs bring claims against all Defendants for their

          negligence, negligent supervision, negligent failure to train, and negligence per se,

          under the Tennessee Governmental Tort Liability Act, as found at Tenn. Code

          Ann. § 29-20-101, et seq.

       3. Defendants owed Plaintiffs common law and statutorily prescribed duties that

          were breached and are therefore liable under the Tennessee Government Tort

          Liability Act, Tenn. Code. Ann. § 29-20-205 for failure to exercise reasonable care

          to supervise and protect A.T., including from the foreseeable intentional acts of

          third parties that involved sexual assault and sexual battery of which the




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            Defendants had actual knowledge, in addition to Defendants’ failure to report

            A.T.’s multiple sexual assaults to B.G. and J.G.

                                       VIII. DAMAGES

       1.       The foregoing factual averments are incorporated herein as though rewritten

    verbatim.

       2.       For the totality of their claims, Plaintiffs seek seven million, five hundred

    thousand dollars ($5,500,000.00) in compensatory damages, and five million, five

    hundred thousand dollars ($7,500,000.00) in punitive damages.

       3.       In sum, Plaintiffs seek as damages payment appropriate for the mental

    suffering and pain for A.T.; payment appropriate for the mental suffering and pain for

    B.G.; payment appropriate for the mental suffering and pain for J.G.; payment of the costs

    of private education; reasonable attorneys’ fees and costs; punitive damages against the

    individual defendants; injunctive relief to include appropriate policies, training,

    supervision, reporting requirements, observance of duties of Title IX officials, and

    monitoring; and any further relief at law or equity which may be appropriate.

       4.       Plaintiffs demand a jury be empaneled to try this Cause.



                                                   Respectfully submitted:

                                                   /s:/ Russell Leonard
                                                   Russell L Leonard, BPR #01491
                                                   Attorney for Plaintiffs
                                                   1016 W. Main St., Suite 3,
                                                   Monteagle, TN 37356
                                                   (931) 924-0447
                                                   (931) 924-1816 Facsimile
                                                   rleonardlegal@gmail.com




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